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                Exhibit 13
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OnePlus – Smartphones (Models having cameras with IR sensitivity. See Product List at end
for models)

Infringement of the ‘112 patent
Claim 1                  Evidence
1. A method of           The OnePlus smartphone performs a method of measuring the magnitude of
measuring the            electromagnetic radiation in a selected location.
magnitude of
electromagnetic          For example, the OnePlus 8 Pro smartphone includes an IR camera (5MP
radiation in a selected  Color Filter Camera). When the IR camera is used to take an IR image the
location by a mobile     smartphone measures the magnitude of infrared electromagnetic radiation
communication device,    received by the smartphone’s IR camera from the location at which the IR
comprising the steps of: camera is aimed.




                         [1]




                                                                                                    1
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       [2]




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                            [2]
providing a mobile          The OnePlus smartphone further provides a mobile communication device
communication device        that comprises an enclosure and a digital imaging sensor that has a first
that comprises an           field of view. The sensor is for generating a digital image of the selected
enclosure, a digital        location.
imaging sensor having a
first field of view, such   For example, the OnePlus smartphone includes an enclosure for housing a
sensor is for generating    digital image sensor, among other components of the smartphone. The
a digital image of the      digital image sensor has a field of view (e.g. outwards from the rear of the
selected location,          smartphone) and is for generating a digital image of a subject or location at
                            which it is aimed.

                            For example, the OnePlus 8 Pro has 48 MP Sony IMX689 image sensor
                            within a housing.




                                                                                                            3
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       [1]




                                                                    [1]


                                                                          4
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                     [1]
a computer,          The OnePlus smartphone further provides a computer.

                     For example, the OnePlus 8 Pro includes a Qualcomm Snapdragon SoC CPU
                     device and RAM memory, as a computer.




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                                                                                     [1]
and an output            The OnePlus smartphone further provides an output component for
component for            conveying information to an operator.
conveying information
to an operator;          For example, the OnePlus 8 Pro includes an AMOLED touchscreen display
                         for conveying information to an operator.




                                                                                                 6
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                                                                                          [1]
coupling to the              During manufacturing of the smartphone, OnePlus couples to the enclosure
enclosure a module that      a module that is responsive to intensity of the electromagnetic radiation in a
is responsive to intensity   selected spectral range.
of the electromagnetic
radiation in a selected      For example, the OnePlus 8 Pro smartphone includes an IR camera (5MP
spectral range;              Color Filter Camera), which is a smartphone module that is capable of
                             measuring the magnitude of electromagnetic radiation in the infrared range.
                             The IR camera is coupled to the enclosure of the OnePlus 8 Pro.




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       [1]




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       [2]




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                             [2]
enabling positioning the     The OnePlus smartphone enables positioning the enclosure in a vicinity of
enclosure in a vicinity of   the selected location.
the selected location;
                             For example, due to the handheld and mobile nature of the OnePlus
                             smartphone, the smartphone can be positioned such that it is in the vicinity
                             of a subject and pointed thereat to take an IR image of the subject.

                             For example, the OnePlus 8 Pro smartphone includes an IR camera. In order
                             to take an IR photo of a subject, the smartphone needs to be positioned so
                             that the IR camera is in the vicinity of the subject and pointed at the subject.
                             The handheld and mobile nature of the OnePlus 8 Pro model makes this
                             positioning easy to perform.




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                          [2]
enabling the module for   The OnePlus smartphone enables the module to generate a signal that is
generating a signal       representative of the electromagnetic radiation.


                                                                                                   11
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representative of the
electromagnetic          For example, the IR camera in the OnePlus 8 Pro model generates a signal
radiation;               responsive to the infrared electromagnetic radiation received from the
                         location or subject at which the IR camera is pointed. For example, the IR
                         camera generates an IR image signal e.g. which when processed and
                         displayed certain materials appear see-through because IR radiation
                         penetrates them.




                         [3]




                                                                                                      12
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                                                                                       [3]
enabling processing said The OnePlus smartphone enables processing the signal to extract
signal to extract         information related to intensity of the electromagnetic radiation in the
information related to    selected location.
intensity of the
electromagnetic           For example, the main processor in the SoC device processes the signal to
radiation in the selected extract information of the infrared electromagnetic radiation, in the location
location, and             at which the IR camera is pointed in the case of the IR camera. The design
                          and manufacture of the smartphone itself enables the SoC device to process
                          the signal.




                                                                                            [1]




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       [2]




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                         [2]
enabling sending said    The OnePlus smartphone enables sending the information to the output
information to the       component for conveying the information to the operator.
output component for
conveying the            For example, the SoC device sends the information to the touchscreen
information to the       display, which causes the display to display an IR image captured with the
operator.                IR camera. The design and manufacture of the smartphone itself enables the
                         SoC device to send the information to the touchscreen display.




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                                                                                                     [2]

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OnePlus 8 Pro

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